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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK



MARTIN ORBACH and PHILLIP SEGO,                       Civil Action No.
individually and on behalf of all others
similarly situated,                                   CLASS ACTION COMPLAINT
                                 Plaintiffs,

         v.

J&J SNACK FOODS CORP,

                                 Defendant.


         Plaintiffs Martin Orbach and Phillip Sego (“Plaintiffs”) bring this action on behalf of

themselves and all others similarly situated against Defendant J&J Snack Foods Corp. (“J&J” or

“Defendant”). Plaintiffs make the following allegations pursuant to the investigation of their

counsel and based upon information and belief, except as to the allegations specifically

pertaining to themselves, which are based on personal knowledge.

                                    NATURE OF THE ACTION

         1.       This is a class action lawsuit on behalf of purchasers of 6- fluid ounce cups of

Luigi’s Real Italian Ice Cherry Flavor, Luigi’s Real Italian Ice Chocolate Flavor, Luigi’s Real

Italian Ice Mango Flavor, Luigi’s Real Italian Ice Cotton Candy Flavor, Luigi’s Real Italian Ice

Orange Flavor, Luigi’s Real Italian Ice Lemon Flavor, Luigi’s Real Italian Ice Blue Raspberry

Flavor, and Luigi’s Real Italian Ice Watermelon Flavor (collectively, the “Luigi’s Real Italian

Ice”).

         2.       Each cup of Luigi’s Italian Ice contains a uniform etched fill line inside of the

cup, to which Defendant fills its Luigi’s Italian Ice Products. This etched fill line only allows for

5.5 fluid ounces of Luigi’s Italian Ice.
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       3.       Testing confirmed that 6-fluid ounce cups of the Luigi’s Real Italian Ice contain

an average of only 5.4 to 5.5 fluid ounces of Italian Ice. Defendant is cheating purchasers by

providing roughly 8.5 to 9% less Italian Ice than purchasers are paying for. Plaintiffs Orbach

and Sego purchased one or more 6-fluid ounce cups of Luigi’s Real Italian Ice, which were

underfilled, and thus were illegal for sale in the United States.

       4.       Plaintiffs Orbach and Sego assert claims on behalf of themselves and a

nationwide class of purchasers of 6- fluid ounce cups of Luigi’s Real Italian Ice, for breach of

express warranty, breach of the implied warranty of merchantability, breach of the implied

warranty of fitness for a particular purpose and unjust enrichment. Plaintiff Orbach also asserts

claims for violation of New York Gen. Bus. Law §§ 349 and 350. Plaintiff Sego also asserts

claims for violation of Massachusetts General Laws Chapter 93A.

                                          THE PARTIES

       5.       Plaintiff Martin Orbach is a citizen of New York who resides in Spring Valley,

New York. Numerous times throughout the past three years, Plaintiff Orbach has purchased 6-

fluid ounce cups of Luigi’s Real Italian Ice from grocery and/or convenient stores located in

Spring Valley, New York. The Luigi’s Real Italian Ice he purchased prominently displayed that

the Product contained 6 fluid ounces of Italian Ice. He saw this representation prior to and at the

time of purchase, and understood it as a representation and warranty that the product did, in fact,

contain 6 fluid ounces of Italian ice. He relied on this representation and warranty in deciding to

purchase Luigi’s Real Italian Ice and this representation and warranty was part of the basis of the

bargain, in that he would not have purchased Luigi’s Real Italian Ice if he had known that the

product did not, in fact, contain 6 fluid ounces of Italian Ice. However, the Luigi’s Real Italian




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Ice purchased by Plaintiff Orbach was mislabeled in that it was not contain 6 fluid ounces of

Italian Ice.

          6.       Plaintiff Phillip Sego is a citizen of Massachusetts who resides in Cambridge,

Massachusetts. Numerous times throughout the past three years, Plaintiff Sego has purchased 6-

fluid ounce cups of Luigi’s Real Italian Ice from grocery and/or convenient stores located in

Cambridge, Massachusetts. The Luigi’s Real Italian Ice he purchased prominently displayed that

the Product contained 6 fluid ounces of Italian Ice. He saw this representation prior to and at the

time of purchase, and understood it as a representation and warranty that the product did, in fact,

contain 6 fluid ounces of Italian ice. He relied on this representation and warranty in deciding to

purchase Luigi’s Real Italian Ice and this representation and warranty was part of the basis of the

bargain, in that he would not have purchased Luigi’s Real Italian Ice if he had known that the

product did not, in fact, contain 6 fluid ounces of Italian Ice. However, the Luigi’s Real Italian

Ice purchased by Plaintiff Sego was mislabeled in that it was not contain 6 fluid ounces of Italian

Ice.

          7.       Defendant J&J Snack Foods Corp. is a Delaware corporation with its principal

place of business at 6000 Central Highway, Pennsauken, New Jersey 08109. J&J Snack Foods

Corp. is engaged in the processing, packaging, and distribution of Luigi’s Real Italian Ice. J&J

Snack Foods Corp sells Luigi’s Real Italian Ice throughout New York and the entire United

States.

                                    JURISDICTION AND VENUE

          8.       This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332(d)(2)(A)

because this case is a class action where the aggregate claims of all members of the proposed

class are in excess of $5,000,000.00, exclusive of interest and costs, and Plaintiffs, as well as




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most members of the proposed class, are citizens of states different from Defendant. This Court

also has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. § 1367.

        9.       Pursuant to 28 U.S.C. § 1391, this Court is the proper venue for this action

because a substantial part of the events, omissions, and acts giving rise to the claims herein

occurred in this District. Plaintiff Orbach is a citizen of New York, resides in this District, and

purchased Luigi’s Real Italian Ice from Defendant in this District. Moreover, Defendant

distributed, advertised, and sold Luigi’s Real Italian Ice, which is the subject of the present

complaint, in this District.

                                       FACTUAL BACKGROUND

        10.      Luigi’s uniformly represents on the front of its packaging that it contains six “6

FL OZ cups,” totaling “NET 36 FL OZ” of Italian ice.




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       11.     Likewise, each individual cup of Luigi’s represents that it contains “NET 6 FL

OZ (177mL).”




       12.     But this is not true. Each cup of Luigi’s Italian Ice contains a uniform etched fill

line inside of the cup, to which Defendant fills its Luigi’s Italian Ice Products. This etched fill

line only allows for 5.5 fluid ounces of Luigi’s Italian Ice.

       13.     Indeed, testing confirmed that Luigi’s contains only 5.5 fluid ounces of Italian ice.

                        CLASS REPRESENTATION ALLEGATIONS

       14.     Plaintiffs seek to represent a class defined as all persons in the United States who

purchased 6-fluid ounce cups of Luigi’s Real Italian Ice (the “Class”). Excluded from the Class

are persons who made such purchase for purpose of resale.




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        15.    Plaintiff Orbach also seeks to represent a subclass of all Class members who

purchased 6- fluid ounce cups of Luigi’s Real Italian Ice in New York (the “New York

Subclass”).

        16.    Plaintiff Sego also seeks to represent a subclass of all Class members who

purchased 6-fluid ounce cups of Luigi’s Real Italian Ice in Massachusetts (the “Massachusetts

Subclass”).

        17.    Members of the Class and Subclass are so numerous that their individual joinder

herein is impracticable. Upon information and belief, Defendant’s annual sales of 6- fluid ounce

cups of Luigi’s Real Italian Ice are in the tens or hundreds of millions of dollars; thus members

of the Class number in the millions and members of the New York Subclass number in the

hundreds of thousands. The precise number of Class members and their identities are unknown

to Plaintiffs at this time but may be determined through discovery. Class members may be

notified of the pendency of this action by mail and/or publication through the distribution records

of Defendant and third party retailers and vendors.

        18.    Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to: whether Defendant underfilled 6-fluid ounce cups of Luigi’s Real

Italian Ice.

        19.    The claims of the named Plaintiffs are typical of the claims of the Class in that the

named Plaintiffs purchased one or more underfilled 6-fluid ounce cups of Luigi’s Real Italian

Ice.

        20.    Plaintiffs are adequate representatives of the Class and Subclasses because their

interests do not conflict with the interests of the Class members they seek to represent, they have




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retained competent counsel experienced in prosecuting class actions, and they intend to

prosecute this action vigorously. The interests of Class members will be fairly and adequately

protected by Plaintiffs and their counsel.

        21.     The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of Class and Subclass members. Each individual Class member may

lack the resources to undergo the burden and expense of individual prosecution of the complex

and extensive litigation necessary to establish Defendant’s liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of the liability issues.

                                           COUNT I
                                  (Breach Of Express Warranty)

        22.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

        23.     Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class and New York and Massachusetts Subclasses against Defendant.

        24.     Defendant, as the designer, manufacturer, marketer, distributor, and/or seller,

expressly warranted that Luigi’s Real Italian Ice contained 6 fluid ounces of Italian Ice.

        25.     In fact, 6-fluid ounce cups of Luigi’s Real Italian Ice are underfilled and are

illegal for sale in the United States.


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       26.       As a direct and proximate cause of Defendant’s breach of express warranty,

Plaintiffs and Class members have been injured and harmed because (a) they would not have

purchased 6- fluid ounce cups of Luigi’s Real Italian Ice had they known the cups were

underfilled, and (b) they were shorted on the amount of Italian Ice they received because the 6-

fluid ounce cups were underfilled. As a result, Plaintiffs and members of the Class have been

damaged either in the full amount of the purchase price of the Luigi’s Real Italian Ice or in the

difference in value between Luigi’s Real Italian Ice as warranted and Luigi’s Real Italian Ice as

actually sold.

                                          COUNT II
                       (Breach Of Implied Warranty Of Merchantability)

       27.       Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

       28.       Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class against Defendant.

       29.       Defendant, as the designer, manufacturer, marketer, distributor, and/or seller,

impliedly warranted that Luigi’s Real Italian Ice contained 6 fluid ounces of Italian Ice.

       30.       Defendant breached the warranty implied in the contract for the sale of Luigi’s

Real Italian Ice because it could not pass without objection in the trade under the contract

description, the goods were not of fair average quality within the description, and the goods were

unfit for their intended and ordinary purpose because the 6- fluid ounce cups of Luigi’s Real

Italian Ice were underfilled. As a result, Plaintiffs and Class members did not receive the goods

as impliedly warranted by Defendant to be merchantable.

       31.       Plaintiffs and Class members purchased Luigi’s Real Italian Ice in reliance upon

Defendant’s skill and judgment and the implied warranties of fitness for the purpose.


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       32.     Luigi’s Real Italian Ice was not altered by Plaintiffs or Class members.

       33.     Luigi’s Real Italian Ice was defective when it left the exclusive control of

Defendant.

       34.     Defendant knew that Luigi’s Real Italian Ice would be purchased and used

without additional testing by Plaintiffs and Class members.

       35.     Luigi’s Real Italian Ice was defectively designed and unfit for its intended

purpose, and Plaintiffs and Class members did not receive the goods as warranted.

       36.     As a direct and proximate cause of Defendant’s breach of warranty, Plaintiffs and

Class members have been injured and harmed because (a) they would not have purchased 6-

fluid ounce cups Luigi’s Real Italian Ice had they known the cups were underfilled, and (b) they

were shorted on the amount of Italian ice they received because the 6- fluid ounce cups were

underfilled.

                                          COUNT III
                                      (Unjust Enrichment)

       37.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

       38.     Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class Defendant.

       39.     Plaintiffs and Class members conferred benefits on Defendant by purchasing

Luigi’s Real Italian Ice.

       40.     Defendant has been unjustly enriched in retaining the revenues derived from

Plaintiffs and Class members’ purchases of Luigi’s Real Italian Ice. Retention of those moneys

under these circumstances is unjust and inequitable because Defendant’s sale of underfilled 6-

fluid ounce cups of Luigi’s Real Italian Ice was illegal, and resulted in purchasers being denied


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the full benefit of their purchase because they were shorted on the amount of Italian ice they

received.

        41.     Because Defendant’s retention of the non-gratuitous benefits conferred on them

by Plaintiffs and Class members is unjust and inequitable, Defendant must pay restitution to

Plaintiffs and Class members for its unjust enrichment, as ordered by the Court.

                                         COUNT IV
                 (Deceptive Acts Or Practices, New York Gen. Bus. Law § 349)

        42.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

        43.     Plaintiff Orbach brings this claim individually and on behalf of the members of

the proposed New York Subclass against Defendant.

        44.     By the acts and conduct alleged herein, Defendants committed unfair or deceptive

acts and practices by misrepresenting that Luigi’s Real Italian Ice contained an adequate amount

of Italian ice for a 6- fluid ounce cup.

        45.     The foregoing deceptive acts and practices were directed at consumers.

        46.     The foregoing deceptive acts and practices are misleading in a material way

because they fundamentally misrepresent the characteristics of Luigi’s Real Italian Ice products

to induce consumers to purchase same.

        47.     Plaintiff Orbach and members of the Class and New York Subclass were injured

because (a) they would not have purchased 6- fluid ounce cups Luigi’s Real Italian Ice had they

known the cups were underfilled, and (b) they were shorted on the amount of Italian ice they

received because the 6- fluid ounce cups were underfilled.

        48.     On behalf of themselves and other members of the Class and New York Subclass,

Plaintiff Orbach seeks to enjoin the unlawful acts and practices described herein, to recover his



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actual damages or fifty dollars, whichever is greater, three times actual damages, and reasonable

attorneys’ fees.

                                           Count V
                      (False Advertising, New York Gen. Bus. Law § 350)

        49.     Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

        50.     Plaintiff Orbach brings this claim individually and on behalf of the members of

the proposed New York Subclass.

        51.     Based on the foregoing, Defendant has engaged in consumer-oriented conduct

that is deceptive or misleading in a material way which constitutes false advertising in violation

of Section 350 of the New York General Business Law by misrepresenting the amount of Italian

ice contained in Luigi’s Real Italian Ice.

        52.     The foregoing advertising was directed at consumers and was likely to mislead a

reasonable consumer acting reasonably under the circumstances.

        53.     This misrepresentation has resulted in consumer injury or harm to the public

interest.

        54.     Plaintiff Orbach and New York Subclass members were injured as a direct and

proximate result of Defendant’s violation because (a) they would not have purchased Luigi’s

Real Italian Ice had they known that it did not contain the amount of Italian Ice as represented,

(b) they overpaid for Luigi’s Real Italian Ice because it is sold at a price premium when

compared to similar products that do not contain this misrepresentation, and (c) Luigi’s Real

Italian Ice did not have the characteristics, uses, or benefits as promised, namely that it contained

6 fluid ounces of Italian Ice. As a result, Plaintiff and members of the New York Subclass have

been damaged either in the full amount of the purchase price of the Luigi’s Real Italian Ice or in


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the difference in value between Luigi’s Real Italian Ice as warranted and Luigi’s Real Italian Ice

as actually sold.

        55.    On behalf of himself and other members of the New York Subclass, Plaintiff

Orbach seeks to enjoin the unlawful acts and practices described herein, to recover actual

damages or five hundred dollars per violation, whichever is greater, three times actual damages

and reasonable attorneys’ fees.

                                        COUNT VI
               (Violation of Massachusetts General Law, Chapter 93A, et. seq.)

        56.    Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this complaint.

        57.    Plaintiff Sego brings this claim on behalf of himself and on behalf of all members

of the proposed Massachusetts subclass.

        58.    At all relevant times Defendant was engaged in commerce for purposes of M.G.L.

Chapter 93A.

        59.    M.G.L. Chapter 93A, § 2 provides that “[u]nfair methods of competition and

unfair or deceptive acts or practices in the conduct of any trade or commerce are declared

unlawful.” MGL Chapter 93A § 9 permits any consumer injured by a violation of Chapter 93A

to bring a civil action, including a class action, for damages and injunctive relief.

        60.    As alleged more fully herein, Defendant has violated Section 93A by underfilling

its 6- fluid ounce cups of Luigi’s Real Italian Ice. This conduct is unfair because Defendant

misrepresented the amount of Italian ice contained in its 6- fluid ounce cups of Luigi’s Real

Italian Ice.

        61.    Pursuant to M.G.L. Chapter 93A § 9, Plaintiff Sego, on behalf of himself and the

Massachusetts Subclass, seeks an order enjoining Defendant from continuing to engage in the


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unfair and/or deceptive business acts or practices set forth in detail above; and disgorging and

restoring all monies that may have been acquired by Defendant as a result of such unfair and/or

deceptive acts or practices.

       62.        On December 1, 2017, a notice letter was sent to Defendant via certified mail,

return receipt requested, pursuant to M.G.L. Chapter 93A, § 9, notifying Defendant of its

deceptive and/or unlawful conduct and Plaintiffs’ intention to bring a class action lawsuit.

Defendant received this letter on December 4, 2017. Defendant has failed to make a timely and

adequate response.

       63.        Based on the foregoing, Plaintiff Sego and the other members of the

Massachusetts Subclass are entitled to all remedies available under Chapter 93A, including but

not limited to actual or statutory damages, whichever is greater, multiple damages, and attorneys’

fees and costs.

                                             COUNT VII
                                              (Fraud)

       64.        Plaintiffs hereby incorporate by reference the allegations contained in all

preceding paragraphs of this Complaint.

       65.        Plaintiffs bring this claim individually and on behalf of the members of the

proposed Class, New York Subclass, and Massachusetts Subclass against Defendant.

       66.        As discussed above, Defendant provided Plaintiffs and Class members with false

or misleading material information and failed to disclose material facts about Luigi’s Real Italian

Ice, including but not limited to the fact that it contains less Italian Ice than what is represented

on the Product’s packaging. These misrepresentations and omissions were made with

knowledge of their falsehood.




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       67.     The misrepresentations and omissions made by Defendant, upon which Plaintiffs

and Class members reasonably and justifiably relied, were intended to induce and actually

induced Plaintiffs and Class members to purchase Luigi’s Real Italian Ice.

       68.     The fraudulent actions of Defendant caused damage to Plaintiffs and Class

members, who are entitled to damages and other legal and equitable relief as a result.

                                     RELIEF DEMANDED

       WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, seek

judgment against Defendant, as follows:

       A.      For an order certifying the nationwide Class and the Subclasses under Rule 23 of

               the Federal Rules of Civil Procedure and naming Plaintiffs as representatives of

               the Class and Subclasses and Plaintiffs’ attorneys as Class Counsel to represent

               the Class and Subclass members;

       B.      For an order declaring the Defendant’s conduct violates the statutes referenced

               herein;

       C.      For an order finding in favor of Plaintiffs, the nationwide Class, and the

               Subclasses on all counts asserted herein;

       D.      For compensatory, punitive, and statutory damages in amounts to be determined

               by the Court and/or jury;

       E.      For prejudgment interest on all amounts awarded;

       F.      For an order of restitution and all other forms of equitable monetary relief;

       G.      For injunctive relief as pleaded or as the Court may deem proper; and

       H.      For an order awarding Plaintiffs and the Class and Subclasses their reasonable

               attorneys’ fees and expenses and costs of suit.


                                        JURY DEMAND

       Plaintiffs demand a trial by jury on all causes of action and issues so triable.


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Dated: January 12, 2018                Respectfully submitted,

                                       BURSOR & FISHER, P.A.


                                       By:       /s/ Philip L. Fraietta

                                             Philip L. Fraietta
                                             Alec M. Leslie
                                             888 Seventh Avenue
                                             New York, NY 10019
                                             Telephone: (646) 837-7150
                                             Facsimile: (212) 989-9163
                                             Email: pfraietta@bursor.com
                                                     aleslie@bursor.com

                                             Attorneys for Plaintiffs




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